          Case 1:17-cv-06903-RJS Document 128 Filed 12/20/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CHARLES OAKLEY,

                               Plaintiff,

          -v-                                               No. 17-cv-6903 (RJS)
                                                                  ORDER
 JAMES DOLAN et al.,

                               Defendants.


RICHARD J. SULLIVAN, Circuit Judge:

         The Court is in receipt of Defendants’ letter, dated November 29, 2021, requesting a

conference to discuss a potential motion for sanctions (Doc. No. 124), as well as Plaintiff’s

response, dated December 2, 2021 (Doc. No. 125), and additional letters by both parties dated

December 3, 2021 (Doc Nos. 126, 127). IT IS HEREBY ORDERED that the parties shall appear

before the Court on Monday, January 3, 2022, at 11:00 a.m., for a pre-motion conference. The

conference shall take place in Courtroom 21C at the Daniel Patrick Moynihan Courthouse, 500

Pearl Street, New York, New York 10007. Members of the public may monitor the proceeding

either in-person in Courtroom 21C or via the Court’s free audio line by dialing 1-888-363-4749

and using access code 3290725#.

SO ORDERED.

Dated:          December 20, 2021
                New York, New York
                                                   ____________________________________
                                                   RICHARD J. SULLIVAN
                                                   UNITED STATES CIRCUIT JUDGE
                                                   Sitting by Designation
